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                                                                               CLERK OF STATE COURT
                                                                              HENRY COUNTY, GEORGIA
                                                                           STSV2022001656
                    IN THE STATE COURT OF HENRY COUNTY                                 DBB
                              STATE OF GEORGIA                                OCT 05, 2022 12:51 PM


John Wedde and Courtney Wedde,      )
as Wrongful Death Claimants and     )
Parents of Elliott Mason Wedde,     )
Deceased, and John Walter Ray Wedde,)                 CIVIL ACTION NO.
as Personal Representative of the Estate
                                    )
of Elliott Wedde,                   )                 _____________________
                                    )
      Plaintiffs,                   )
                                    )
v.                                  )
                                    )                 JURY TRIAL DEMANDED
Nathan Thomas Sheets,               )
Kenneth Glen Sheets and             )
Angela Sheets,                      )
                                    )
      Defendants.                   )
____________________________________)

                                      COMPLAINT

       COME NOW the above Plaintiffs and file their Complaint, showing the

following:

                                 Preliminary Statement

       1.      This is an action for money damages arising from the wrongful death of

Elliot Mason Wedde (“Elliott Wedde”) in a motor vehicle accident.

                                     Jurisdiction and Venue

       2.      Plaintiffs are citizens of the State of Tennessee submitting themselves

hereby to the jurisdiction and venue of this Court.

       3.      Defendant Nathan Thomas Sheets (“Nathan Sheets”) is a resident of

Henry County, Georgia, and he may be served with summons and complaint in this

action at 472 Kimberly Court, McDonough, Henry County, Georgia 30252.


                                       EXHIBIT
                                            A
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        4.      Defendants Kenneth Glen Sheets and Angela Sheets (“Kenneth Sheets”

and “Angela Sheets”) are residents of Henry County, Georgia, and may be served with

summons and complaint in this action at 472 Kimberly Court, McDonough, Henry

County, Georgia 30252.

        5.      The state court has subject matter jurisdiction of this action for money

damages.

        6.      Venue is proper in Henry County pursuant to Ga. Const. Art. VI Sec. II

Paras. IV and VI.

                                Facts Common to All Counts

        7.      On March 26, 2022, Elliott Wedde was a passenger in a motor vehicle

operated by Nathan Sheets and owned by Kenneth Sheets.

        8.      While traveling northbound on US-19 north of its intersection with Porter

Springs Road, in Lumpkin County, Georgia, Nathan Sheets failed to maintain his lane of

travel, left the road, and struck a tree.

        9.      Nathan Sheets was cited for violations of OCGA § 40-6-48, failure to

maintain lane, OCGA § 40-6-393(a), homicide by vehicle, and OCGA § 40-6-391(a),

operating under the influence of alcohol, drugs, or other intoxicating substances.

        10.     Elliott Wedde died at the scene of the accident.

        11.     Plaintiffs are the surviving parents of Elliott Wedde and wrongful death

claimants herein.

        12.     Plaintiff John Walter Ray Wedde is also the personal representative of the

estate of Elliott Wedde.




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             COUNT I - Negligence and Negligence Per Se (Nathan Sheets)

       13.     At all times relevant herein, Nathan Sheets had a duty to operate a motor

vehicle with due care and in compliance with Georgia law.

       14.     Nathan Sheets breached said duties of care by operating a motor vehicle

while under the influence of one or more intoxicating substances and failing to maintain

his lane of travel, which breaches of duty constituted negligence or negligence per se and

directly and proximately caused the death of Elliott Wedde.

       15.     The Estate of Elliot Wedde is entitled to recover for his pain, suffering,

and emotional distress during his lifetime and for his funeral expenses. The Plaintiffs as

wrongful death claimants also are entitled tor recover for the full value of his life.

      COUNT II - Negligent Entrustment (Kenneth Sheets and Angela Sheets)

       16.     Kenneth Sheets and Angela Sheets had a duty to exercise due care in the

entrustment of a motor vehicle to Nathan Sheets.

       17.     Kenneth Sheets and Angela Sheets failed to exercise due care, which

constituted negligence and was a direct and proximate cause of the death of Elliott

Wedde.

       18.     The Estate of Elliot Wedde is entitled to recover for his pain, suffering,

and emotional distress during his lifetime and for his funeral expenses. The Plaintiffs as

wrongful death claimants also are entitled for recover for the full value of his life.

                    COUNT III - Punitive Damages (Nathan Sheets)

       19.     Nathan Sheets’ conduct in operating a motor vehicle under the influence

of one or more intoxicating substances showed willful misconduct, malice, fraud,




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wantonness, oppression, or that entire want of care which would raise the presumption of

conscious indifference to consequences, entitling Plaintiffs to punitive damages.

       WHEREFORE, Plaintiffs respectfully pray that summons issue and be served

with the foregoing Complaint, that discovery be had, that the matter be tried to a jury,

that the Court enter judgment in favor of Plaintiffs awarding damages and casting the

costs of this action on Defendants.

       Respectfully submitted this 5th day of October, 2022.


                                             STEVEN LEIBEL, P.C.

                                             /s/ Steven Leibel
                                             STEVEN LEIBEL
                                             Georgia State Bar No. 445050
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